 

Case 8:01-cv-01032-JTL Document 198 Filed 07/30/04 Pagelof2 Page ID #:49
UNITED STATES DISTRICT COURT /
CENTRAL DISTRICT OF CALIFORNIA a
SOUTHERN DIVISION

CIVIL MINUTES - GENERAL

Case No SA CV_01-1032 AHS (ANx) Date July 30, 2004

PRESENT HON. ALICEMARIE H. STOTLER, JUDGE (IN CHAMBERFIDOCYETED (IN CM |

Ellen Matheson Not Present
Deputy Clerk Court Reporter

 

ATTORNEYS PRESENT: None

 

 

 

PROCEEDINGS : ORDER 1) DENYING DEFENDANT COLOR WEST INC ‘S MOTION
FOR AN ORDER DISMISSING THE FIRST AMENDED COMPLAINT
WITH PREJUDICE PURSUANT TO FED R CIV P 12(B), 2)
CORRECTING DOCKET

I. Procedural History And Ruling

On July 13, 2004, defendant Color West filed a Motion for an
Order Dismissing the First Amended Complaint with Prejudice Pursuant to
Fed R Civ P= 12 (b) On July 19, 2004, plaintiff filed opposition
thereto On July 26, 2004, defendart replied On July 28, 2004, the
Court took the matter under submission Having read and considered the
parties’ papers, and conducted its own research, the Court denies
defendant's motion

II. Facts

On December 28, 1998, plaintiff, via personal service, served
the First Amended Summons on the First Amended Complaint on Color West “a
business of unknown form” A copy of the proof of service was filed with
the Court on September 3, 1999 The proof of service indicates that the
summons and complaint was specifically served on “Scott Jenson, [s2¢]
whose title is authorized agent " Defendant argues that Scott Jensen
(correct spelling) was not an authorized agent for service of process
under California law and that service has never been properly
effectuated

III. Discussion
“A signed return of service constitutes prima facie evidence of

valid service which can be overcome only by strong and convincing
evidence ” O’Brien v RJ O’Brien & Assoc , 998 F 2d 1394, 1398 (7th

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Wesley Van Kirk Robbins v_ Christopher Lee, et al
Dated July 30, 3004

Cir 1993) guoting Hicklin v Edwards, 226 F 2d 410, 414 (8th Car 1955)
(internal quotation omitted) Plaintiff filed a proof of service of the
first amended summons and complaint with the Court Thus, the burden
shifts to defendant to demonstrate that service was improper Defendant
argues that service was ineffectual under California law Cal Civ Proc
Code § 416 10 Color West, however, fails to address the propriety of
service under federal law Fed R Civ P 4(h) (1) Under Rule 4(h),
service of a domestic corporation may be effectuated by delivering a copy
of the summons and complaint on a responsible employee who has “some
measure of discretion in operating some phase of the defendant’s business
or in the management of a given office.. The recipient must also have at
least such status that common sense would expect the recipient to see
that the summons promptly gets into the hands of the appropriate
personnel " Baade v_ Price, 175 F RD 403, 405 (D DC 1997) (internal
citations omitted)

Here, defendant merely states that the Lynn Jensen is the
authorized agent for service and that Scott Jensen 1s not {(Lavinsky
decl Ex 2, Jensen decl 4 2, 4) Nowhere does defendant address
whether Scott Jensen maintained the requisite authority for service
pursuant to Rule 4(h) Plaintiff presents evidence that Scott Jensen is

an employee of defendant and is the son of Lynn Jensen (Juarez decl
2) Additionally, defendant does not argue that it lacks actual notice
of this action Defendant’s motion 1s not meritorious

The Court orders the Clerk to correct docket entries 53 and 85,
respectively, which state that defendant Color West has appeared in this
action in the context of a motion to compel discovery and a motion for
summary judgment Defendant Color West shall be stricken from these
docket entries The parties contend, and the Court’s own file indicates,
that defendant has not previously made an appearance in this case

IV. Conclusion

For the foregoing reasons, defendant Color West’s motion 1s
denied The Clerk 1s ordered to correct docket entries 53 and 85

The Clerk shall serve this minute order on counsel for all
parties in this action

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